               Case 23-10831-MFW               Doc 1089         Filed 03/11/24        Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al.,1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                          SUPPLEMENTAL CERTIFICATE OF SERVICE

      I, Heather Fellows, depose and say that I am employed by Kurtzman Carson Consultants
LLC (KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On March 5, 2024, at my direction and under my supervision, employees of KCC caused
to be served per postal forwarding address the following document via First Class Mail upon the
service list attached hereto as Exhibit A:

        Order Extending the Deadline Pursuant to Section 365(d)(4) of the Bankruptcy Code
         to Assume or Reject Unexpired Leases of Nonresidential Real Property [Docket No.
         955]

Dated: March 8, 2024
                                                               /s/ Heather Fellows
                                                               Heather Fellows
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
Case 23-10831-MFW   Doc 1089   Filed 03/11/24   Page 2 of 3




                    Exhibit A
                                       Case 23-10831-MFW         Doc 1089       Filed 03/11/24   Page 3 of 3
                                                                      Exhibit A
                                                                Landlords Service List
                                                              Served via First Class Mail
                             CreditorName         CreditorNoticeName               Address         City    State      Zip
                    GAC R&D Center Detroit, LLC   Ding Dong                485 E 17th St Ste 101 Costa Mesa CA     92627‐4718




In re Lordstown Motors Corp., et al.
Case No. 23‐10831 (MFW)                                              Page 1 of 1
